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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

GAYLA F. MURPHY, on behalf of herself
and all other similarly situated,
                                                     Case No. 3:19-cv-01454-N
Plaintiff,

        v.

DIRECT ENERGY SERVICES, LLC,

Defendant.

                                    NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE GAYLA F. MURPHY (“Plaintiff”) hereby notifies the

Court that the Plaintiffs and Defendant have settled all claims between them in this matter and

are in the process of completing the final closing documents and filing the dismissal. The

Parties anticipate this process to take no more than 60 days and request that the Court retain

jurisdiction for any matters related to completing and/or enforcing the settlement. The Parties

propose to file a stipulated dismissal with prejudice within 60 days of submission of this

Notice of Settlement and pray the Court to stay all proceedings until that time.


Respectfully submitted this 19th day of August 2019.




                                                       s/ Nathan C. Volheim
                                                       Nathan C. Volheim, #6302103
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                                                       Lombard, IL 60148
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                                                       Attorney for Plaintiff



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                               CERTIFICATE OF SERVICE

       I hereby certify that I today caused a copy of the foregoing document to be

electronicallpy filed with the Clerk of Court using the CM/ECF system, which will be sent to all

attorneys of record.


                                                           s/ Nathan C. Volheim
                                                           Nathan C. Volheim




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